Case 3:20-cv-00330-JBA Document 34-1 Filed 04/28/20 Page 1 of 6

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

MIA CASTRO, M.D., et al CIVIL ACTION NO:

)
Plaintiff, 3:20-cv-00330 (JBA)
v. )
YALE UNIVERSITY, et al
Defendant. ) April 28, 2020

 

AFFIDAVIT OF ROBERT B. MITCHELL

Robert B. Mitchell, having been duly sworn, deposes and states the following:

| am over the age of eighteen and | believe in the obligation of an oath.

2. | am a principal of the law firm of Mitchell & Sheahan, P.C., and | am counsel of
record for Manuel Lopes Fontes, M.D., Defendant, in the above-captioned case.

3: This Affidavit is submitted in support of Defendant Manuel Lopes Fontes, M.D.’s
Motion For Telephonic Pre-Filing Conference.

4. Attached as Exhibit 1 is a true copy of a letter | wrote to Lillian Marti, Investigator,
Equal Employment Opportunity Commission on February 27, 2020.

5. Attached as Exhibit 2 is a true copy of the email Ms. Marti sent responding to my

letter on March 11, 2020.

 

 

Robert B. Mitchell
Case 3:20-cv-00330-JBA Document 34-1 Filed 04/28/20 Page 2 of 6

Subscribed and sworn to before me
This 1¥ day of April, 2020

Peach

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My-Gommission Expires—
 

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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

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MIA CASTRO, M.D., et al
Plaintiff,
Vv.
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April 28, 2020

 

AFFIDAVIT OF ROBERT B. MITCHELL

EXHIBIT 1

 
 

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$99 Oronoque Lane, Suite 203
Stratford, CT 06614

 

Office: 203.873.0240
Fax: 203.873.0235

www. mitchellandsheahan.com

February 27, 2020

Email to: Lillian. Marti@eeoc.gov

Lillian Marti, Investigator

Re: Ashley Eltorai, M.D., et al v. Yale University New Haven Hospital
FEOC Charge No. 523-2020-00505

Dear Ms. Marti:
This will confirm our telephone conversation regarding the above-referenced matter. As
a result of that conversation, it is our understanding that my client, Dr. Manuel Lopes Fontes, has

not been named as a Respondent in this matter. | would appreciate it if you could confirm this
in writing.

Thank you.

Very truly yours,

 

rower B. Mitchell

Cc: Manual Fontes, M.D,

www. mitchellandsheahan.com STRATFORD | WESTPORT | WHITE PLAINS

 

 
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UNITED STATES DISTRICT COURT
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CIVIL ACTION NO:
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MIA CASTRO, M.D., et al
Plaintiff,

Vv. )
YALE UNIVERSITY, et al
)

Defendant. April 28, 2020

 

AFFIDAVIT OF ROBERT B. MITCHELL

EXHIBIT 2

 
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Margaret Sheahan

From: LILLIAN MARTI <LILLIAN.MARTI@EEOC.GOV>
Sent: Tuesday, March 10, 2020 4:13 PM

To: Francine Parente

Cec: Robert Mitchell; Reese Mitchell

Subject: RE: EEOC Charge No. 523-2020-00505

Dear Atty. Mitchell:
This is to confirm that Dr. Manuel Lopes Fontes is not the Respondent on the referenced charge of discrimination.

Sincerely,

LMarti
Senior Investigator
Boston Area Office

 

From: Francine Parente [mailto:FParente@mitchellandsheahan.com]
Sent: Tuesday, March 10, 2020 2:46 PM

To: LILLIAN MARTI

Cc: Robert Mitchell ; Reese Mitchell

Subject: FW: EEOC Charge No. 523-2020-00505

Ms. Marti,

| have attached a letter from Attorney Bob Mitchell that was sent to you by email on 2/27/20. | would appreciate it if
you could respond at your earliest convenience.

Thank you,

Francine Parente

Paralegal

Mitchell & Sheahan, P.C.

999 Oronoque Lane, Suite 203
Stratford, CT 06614

Phone 203 873 0240
Fax 203 873 0235

Email fparente@mitchellandsheahan.com
www. mitchellandsheahan.com
